Case 21-32261 Document 40-13 Filed in TXSB on 07/26/21 Page 1 of 2




             EXHIBIT G-5
    Case 21-32261 Document 40-13 Filed in TXSB on 07/26/21 Page 2 of 2




                                        ALLONGE




         ALLONGE to that certain Promissory Note dated as of October 21, 2016 in the original
principal amount of $8,350,000.00, executed by KORNBLUTH TEXAS, LLC, a Texas limited
liability company, payable to the order of RIALTO MORTGAGE FINANCE, LLC, a Delaware
limited liability company.

       Pay to the order of RMF SUB 1, LLC, a Delaware limited liability company, its
successors, participants and assigns, without recourse.

          Dated as ofthe _ _ day of December, 2016


                                          RIALTO MORTGAGE FINANCE, LLC, a
                                          Delaware limited liability company




                                          ~;~e:~~hrr=
                                          Title: Authorized Signatory




Reference No.: 4435.017
Matter Name: Holiday Inn Webster
Pool: WFCM 2016-LC25
